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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York

                                                      86 Chambers Street, 3rd floor
                                                      New York, New York 10007


                                                     October 19, 2020
                                         The application is GRANTED. The Clerk of Court is directed to
By ECF                                   terminate ECF No. 24. SO ORDERED.
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007
                                                                                              October 19, 2020
                  Re:     Villatoro v. Decker, No. 20-cv-2640 (JMF)

Dear Judge Furman:

        This Office represents Respondents in the above-captioned matter. With consent of
Petitioner, through his counsel, I write respectfully to request a two-week extension of the
deadline for Respondents to file their anticipated motion to dismiss, which currently is October
23, 2020. The requested extended briefing schedule is as follows:

              Respondents’ opening brief:            November 6, 2020 (currently October 23)
              Petitioner’s opposition brief:         November 20, 2020 (currently November 6)
              Respondents’ reply brief:              December 4, 2020 (currently November 13)

        This is Respondents’ first request for an extension of the briefing deadline. The extension
is requested in light of the parties’ ongoing efforts to agree on a stipulation and proposed order of
dismissal, which the parties are actively discussing. Accordingly, we respectfully request the
two-week extension to permit these discussions to continue and as a means to conserve the
resources of the parties and, potentially, the Court, should a consensual resolution be reached.

       I thank the Court for its consideration of this request.

                                          Respectfully,

                                          AUDREY STRAUSS
                                          Acting United States Attorney for the
                                          Southern District of New York

                                   By:     /s/ Danielle J. Levine
                                          DANIELLE J. LEVINE
                                          Assistant United States Attorney
                                          Tel.: (212) 637-2689
                                          danielle.levine@usdoj.gov

cc:    Counsel of Record
